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                              UNlTED~ATFSDJo»C09' 2551
                      FOR THE SOUTHERN DISTRICT OF NEW YORK

     NEW YORK cm EMPLOYEES' RETIREMENT                   JUDGE ENGELMAYER
     SYSTEM. TEACHERS' RETlREMENT SYSTEM OF :
     THE CflY OF NEW YORK, NEW YORK CITY    :
     POUCE PENSION FUND, NEW YORK CITY FIRE .
     DEPARTMENT PENSION FUND, NEW YORK CITY :
     BOARD OF EDUCATION RETIREMENT SYSTEM. :
     TEACHERS' VARIABLE ANNUITY FUNDS, and    No.
     NEW YORK CI1Y GROUP TRUST,                  ----fl'iII:.~-

                                         Plaintiffs,
           v.
     BP p.l.c., BP AMERICA INC., BP EXPLORATION & :
     PRODUCIlON INC., ANTHONY B. HAYWARD,
     DOUGLAS J. SUTTLES, ANDREW G. INGLIS,
     ROBERT MALONE, DAVID RAINEY, H. LAMAR
     McKAY, and ROBERT W. DUDLEY,

                                       Defendant&.

                                        REDACTED
                                           COMPLAINT




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